 Case 6:20-cv-00660-JDK Document 2-1 Filed 12/28/20 Page 1 of 4 PageID #: 69




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION


 LOUIE GOHMERT, TYLER BOWYER, NANCY
 COTTLE, JAKE HOFFMAN, ANTHONY KERN,
 JAMES R. LAMON, SAM MOORHEAD, ROBERT
                                                                 Civil Action No. 6:20-cv-00660
 MONTGOMERY, LORAINE PELLEGRINO, GREG
 SAFSTEN, KELLI WARD and MICHAEL WARD,
        Plaintiffs,
        v.                                                              (Election Matter)
 THE HONORABLE MICHAEL R. PENCE, VICE
 PRESIDENT OF THE UNITED STATES, in his
 official capacity,
        Defendant.

              [PROPOSED] ORDER GRANTING EMERGENCY INJUNCTIVE
                                  RELIEF

       The Court has before it Plaintiffs’ Emergency Motion for Expedited Declaratory

Judgment and Emergency Motion for Injunctive Relief filed December 28, 2020 (“Motion”) and

the Plaintiffs’ December 27, 2020 Complaint for Expedited Declaratory Judgment and

Emergency Injunctive Relief (“Complaint”) seeking:

       1.      A declaratory judgment finding that:

                      a. Sections 5 and 15 of the Electoral Count Act, 3 U.S.C. §§ 5 and 15, are

                         unconstitutional insofar as they conflict with and violate the Electors

                         Clause and the Twelfth Amendment, U.S. CONST. art. II, § 1, cl. 1 &

                         amend. XII;

                      b. That Defendant Vice-President Michael R. Pence, in his capacity as

                         President of Senate and Presiding Officer of the January 6, 2021 Joint

                         Session of Congress under the Twelfth Amendment, is subject solely to
Case 6:20-cv-00660-JDK Document 2-1 Filed 12/28/20 Page 2 of 4 PageID #: 70




                the requirements of the Twelfth Amendment and may exercise the

                exclusive authority and sole discretion in determining which electoral

                votes to count for a given State, and must ignore and may not rely on any

                provisions of the Electoral Count Act that would limit his exclusive

                authority and at his sole discretion to determine which of two or more

                competing slates of electors’ votes are to be counted for President;

             c. That, with respect to competing slates of electors the State of Arizona or

                other Contested States, the Twelfth Amendment contains the exclusive

                dispute resolution mechanisms, namely, that (i) Vice-President Pence

                determines which slate of electors’ votes shall be counted, or neither, for

                that State and (ii) if no person has a majority, then the House of

                Representatives (and only the House of Representatives) shall chose the

                President where “the votes [in the House of Representatives] shall be

                taken by states, the representation from each state having one vote,” U.S.

                CONST. amend. XII;

             d. That, also with respect to competing slates of electors, the alternative

                dispute resolution procedure or priority rule in 3 U.S.C. § 15, is null and

                void insofar as it nullifies and replaces the Twelfth Amendment rules

                above by with an entirely different procedure in which the House and

                Senate each separately “decide” which slate is to be counted, and in the

                event of a disagreement, then only “the votes of the electors whose

                appointment shall have been certified by the executive of the State … shall

                be counted,” 3 U.S.C. § 15; and



                                  Proposed Order - 2
 Case 6:20-cv-00660-JDK Document 2-1 Filed 12/28/20 Page 3 of 4 PageID #: 71




       2.     An order granting any other declaratory or injunctive relief necessary to support

              or effectuate the foregoing declaratory judgments.

       The Court has reviewed the terms and conditions of the December 28, 2020 Motion and

Complaint, and the Court’s Declaratory Judgment issued December 31, 2020, granting the

requested expedited declaratory judgments in Paragraphs 1(a)-1(d) above and for good cause

shown IT IS HEREBY ORDERED THAT:

       1.     Defendant Vice President Michael R. Pence shall, in his capacity as President of

              the Senate and as Presiding Officer for the January 6, 2021 Joint Session of

              Congress (“Joint Session”), solely follow the terms of the Twelfth Amendment in

              counting the electoral votes at the Joint Session and any other proceedings

              addressing the counting of electoral votes for choosing the next President in

              connection with the 2020 General Election;

       2.     Defendant Vice President Pence shall not follow the provisions of Sections 5 or

              15 of the Electoral Count Act that this Court has found to be unconstitutional and

              in conflict with the Twelfth Amendment, and in particular, Defendant Vice

              President Pence

                  a. Shall not “call for objections” from Senators or House Members following

                     the reading of any certificate or paper from electors for a given State, and

                     instead shall exercise his exclusive authority and sole discretion under the

                     Twelfth Amendment to “count” the electoral votes for a given state,

                     including the decision as to which of the competing slates of electors’

                     electoral votes to count, or not to count, for that State;




                                      Proposed Order - 3
Case 6:20-cv-00660-JDK Document 2-1 Filed 12/28/20 Page 4 of 4 PageID #: 72




             b. Shall not give any preference or priority in counting electors certified by

                the State’s executive over any other slate of electors, and shall instead give

                effect to the provisions of the Electors Clause for electors appointed by the

                State Legislature in whatever manner indicated by that State’s legislatures;

             c. Shall not submit any disputes between competing slates of electors to be

                resolved under the procedures set forth in Section 15 of the Electoral

                Count Act, nor as Presiding Officer shall he permit any such objections or

                disputes to interrupt the counting of electoral votes at the Joint Session or

                delegate his exclusive authority under the Twelfth Amendment to

                Congress to determine which electoral votes are to be counted; and

             d. If and only if neither President Trump nor former Vice President Biden

                fails to receive a majority of electoral votes at the Joint Session, is he

                relieved is his exclusive authority to count electoral votes for choosing the

                President, at which point he shall direct the House of Representatives to

                “choose immediately by ballot” the President where “the votes shall be

                taken by states, the representation from each state having one vote,” as

                required under the Twelfth Amendment.

    SO ORDERED.




                                 Proposed Order - 4
